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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 15–06–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 STEPHON ELIJAH COAKLEY,

                      Defendant.


      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 23, 2015. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Stephon Elijah Coakley’s

guilty plea after Coakley appeared before him pursuant to Federal Rule of

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Criminal Procedure 11, and entered a plea of guilty to one count of conspiracy to

possess with the intent to distribute methamphetamine and heroin in violation of

21 U.S.C. § 846 (Count I), as set forth in the Indictment. In exchange for

Defendant’s plea, the United States has agreed to dismiss Count II of the

Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

121), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Stephon Elijah Coakley’s motion to

change plea (Doc. 82) is GRANTED and Stephon Elijah Coakley is adjudged

guilty as charged in Count I of the Indictment.

      DATED this 9th day of October, 2015.




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